Filed 03/16/20                                                                                       Case 20-10800                                                                                                      Doc 18

     Fill in this information to identify the case:

     Debtor name            4-S Ranch Partners, LLC

     United States Bankruptcy Court for the:                       EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)               20-10800
                                                                                                                                                                                        Check if this is an
                                                                                                                                                                                            amended filing



    Official Form 206Sum
    Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

     Part 1:      Summary of Assets


     1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

           1a. Real property:
               Copy line 88 from Schedule A/B.............................................................................................................................                   $     500,000,000.00

           1b. Total personal property:
               Copy line 91A from Schedule A/B.........................................................................................................................                      $     203,010,025.79

           1c. Total of all property:
               Copy line 92 from Schedule A/B...........................................................................................................................                     $     703,010,025.79


     Part 2:      Summary of Liabilities


     2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
           Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      57,264,645.50


     3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

           3a. Total claim amounts of priority unsecured claims:
               Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $          367,884.48

           3b. Total amount of claims of nonpriority amount of unsecured claims:
               Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$          551,432.77


     4.    Total liabilities .......................................................................................................................................................
           Lines 2 + 3a + 3b                                                                                                                                                            $        58,183,962.75




     Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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Filed 03/16/20                                                               Case 20-10800                                                                           Doc 18

     Fill in this information to identify the case:

     Debtor name          4-S Ranch Partners, LLC

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)         20-10800
                                                                                                                                      Check if this is an
                                                                                                                                            amended filing



    Official Form 206A/B
    Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
    Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
    Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
    which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
    or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
    the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
    additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

     For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
     schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
     debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
     Part 1:      Cash and cash equivalents
    1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes Fill in the information below.
          All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                            debtor's interest
     2.         Cash on hand                                                                                                                                    $0.00



     3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
                Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                                 number
                         Wells Fargo Bank, N.A.
                         P.O. Box 63020
                         San Francisco, CA 94163
                         Name on Account: 4S Ranch Partners
                         LLC
                         Signatories on Account: Stephen W.                     WellsOne Account
                3.1.     Sloan                                                  (Checking)                       8267                                           $0.00



     4.         Other cash equivalents (Identify all)

     5.         Total of Part 1.                                                                                                                             $0.00
                Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

     Part 2:           Deposits and Prepayments
    6. Does the debtor have any deposits or prepayments?

           No.   Go to Part 3.
           Yes Fill in the information below.

     Part 3:           Accounts receivable
    10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
           Yes Fill in the information below.
    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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Filed 03/16/20                                                                  Case 20-10800                                                                     Doc 18

     Debtor         4-S Ranch Partners, LLC                                                               Case number (If known) 20-10800
                    Name



     11.       Accounts receivable
               11a. 90 days old or less:                                    0.00    -                                    0.00 = ....                    Unknown
                                                  face amount                               doubtful or uncollectible accounts




     12.       Total of Part 3.                                                                                                                          $0.00
               Current value on lines 11a + 11b = line 12. Copy the total to line 82.

     Part 4:        Investments
    13. Does the debtor own any investments?

         No.    Go to Part 5.
         Yes Fill in the information below.

     Part 5:        Inventory, excluding agriculture assets
    18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes Fill in the information below.
               General description                        Date of the last              Net book value of          Valuation method used    Current value of
                                                          physical inventory            debtor's interest          for current value        debtor's interest
                                                                                        (Where available)

     19.       Raw materials
               500,000 acre-foot of
               stored water ($400/AC
               FT)                                                                                                                              $200,000,000.00



     20.       Work in progress

     21.       Finished goods, including goods held for resale

     22.       Other inventory or supplies

     23.       Total of Part 5.                                                                                                             $200,000,000.00
               Add lines 19 through 22. Copy the total to line 84.

     24.       Is any of the property listed in Part 5 perishable?
                No
                Yes
     25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
                No
                Yes. Book value                                         Valuation method                               Current Value

     26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
                No
                Yes
     Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
    27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

         No.    Go to Part 7.
         Yes Fill in the information below.


    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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Filed 03/16/20                                                               Case 20-10800                                                                Doc 18

     Debtor         4-S Ranch Partners, LLC                                                       Case number (If known) 20-10800
                    Name

     Part 7:        Office furniture, fixtures, and equipment; and collectibles
    38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No.    Go to Part 8.
         Yes Fill in the information below.

     Part 8:        Machinery, equipment, and vehicles
    46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes Fill in the information below.
               General description                                                Net book value of      Valuation method used      Current value of
               Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
               (i.e., VIN, HIN, or N-number)                                      (Where available)

     47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


     48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
               floating homes, personal watercraft, and fishing vessels

     49.       Aircraft and accessories


     50.       Other machinery, fixtures, and equipment (excluding farm
               machinery and equipment)
               Equipment: 1996 Case Backhoe Loader                                                                                            $26,308.10


               12 Wells (acquired 1/6/2009, $1,200,000); 1 Well
               (acquired 12/18/2009, $118,107); 6 Wells
               (acquired 12/1/2014, $489,461)                                                                                              $1,807,568.00


               Water Delivery Systems                                                                                                        $248,767.92


               Well Equipment, including:
               Well Equipment (Well #13, #14, #15, #16, #17
               and one non-specified), Well Meters,
               Electromagnetic Flowmeter, Seametric Flow
               Meter, Lift Pump                                                                                                              $492,351.25




     51.       Total of Part 8.                                                                                                        $2,574,995.27
               Add lines 47 through 50. Copy the total to line 87.

     52.       Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes
     53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
                No
                Yes
     Part 9:        Real property
    54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes Fill in the information below.
    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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Filed 03/16/20                                                                Case 20-10800                                                                Doc 18

     Debtor         4-S Ranch Partners, LLC                                                       Case number (If known) 20-10800
                    Name



     55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

               Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
               property                                       extent of           debtor's interest      for current value          debtor's interest
               Include street address or other                debtor's interest   (Where available)
               description such as Assessor                   in property
               Parcel Number (APN), and type
               of property (for example,
               acreage, factory, warehouse,
               apartment or office building, if
               available.




    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
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Filed 03/16/20                                                               Case 20-10800                                                          Doc 18

     Debtor         4-S Ranch Partners, LLC                                                      Case number (If known) 20-10800
                    Name

               55.1.     The real property                    Fee simple             $500,000,000.00     Expert                    $500,000,000.00
                         located at the north
                         and south sides of
                         Green House Rd.,
                         ±1.5 miles west of
                         Dan McNamara Rd.,
                         southwest of
                         Atwater, Merced
                         County, CA:
                         APN:
                         049-200-005-000 (Lot
                         Acres: 300.100; Lot
                         Sq. Ft.: 13,072,356);
                         APN:
                         049-200-019-000 (Lot
                         Acres: 108.700; Lot
                         Sq. Ft.: 4,734,972);
                         APN:
                         049-200-020-000 (Lot
                         Acres: 234.500; Lot
                         Sq. Ft.: 10,214,820);
                         APN:
                         049-200-021-000 (Lot
                         Acres: 37.800; Lot
                         Sq. Ft.: 1,646,567);
                         APN:
                         049-200-022-000 (Lot
                         Acres: 177.200; Lot
                         Sq. Ft.: 7,718,831);
                         APN:
                         049-200-023-000 (Lot
                         Acres: 160.000; Lot
                         Sq. Ft.: 6,969,600);
                         APN:
                         049-200-024-000 (Lot
                         Acres: 159.200; Lot
                         Sq. Ft.: 6,934,751);
                         APN:
                         049-200-025-000 (Lot
                         Acres: 68.800; Lot
                         Sq. Ft.: 2,996,92);
                         APN:
                         049-220-015-000 (Lot
                         Acres: 634.220; Lot
                         Sq. Ft.: 27,626,623);
                         APN:
                         049-220-016-000 (Lot
                         Acres: 375.900; Lot
                         Sq. Ft.: 16,374,203);
                         APN:
                         049-220-017-000 (Lot
                         Acres: 268.600; Lot
                         Sq. Ft.: 11,700,216);
                         APN:
                         049-220-018-000 (Lot
                         Acres: 322.000; Lot
                         Sq. Ft.: 14,026,320);
                         APN:
                         049-220-019-000 (Lot
                         Acres: 318.200; Lot
                         Sq. Ft.: 13,860,792);
                         APN:
                         049-220-020-000 (Lot
    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 5
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Filed 03/16/20                                                               Case 20-10800                                                               Doc 18

     Debtor         4-S Ranch Partners, LLC                                                      Case number (If known) 20-10800
                    Name

                         Acres: 635.800; Lot
                         Sq. Ft.: 27,695,447);
                         APN:
                         049-240-016-000 (Lot
                         Acres: 642.040; Lot
                         Sq. Ft.: 27,967,262);
                         APN:
                         049-240-017-000 (Lot
                         Acres: 641.400; Lot
                         Sq. Ft.: 27,939,384);
                         APN:
                         065-030-004-000 (Lot
                         Acres: 173.000; Lot
                         Sq. Ft.: 7,535,880).



     56.        Total of Part 9.                                                                                                     $500,000,000.00
                Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
                Copy the total to line 88.

     57.        Is a depreciation schedule available for any of the property listed in Part 9?
                 No
                 Yes
     58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
                 No
                 Yes
     Part 10:       Intangibles and intellectual property
    59. Does the debtor have any interests in intangibles or intellectual property?

         No.    Go to Part 11.
         Yes Fill in the information below.

     Part 11:       All other assets
    70. Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor's interest


     71.        Notes receivable
                Description (include name of obligor)

     72.        Tax refunds and unused net operating losses (NOLs)
                Description (for example, federal, state, local)

     73.        Interests in insurance policies or annuities




    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 6
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Filed 03/16/20                                                               Case 20-10800                                                        Doc 18

     Debtor         4-S Ranch Partners, LLC                                                      Case number (If known) 20-10800
                    Name

               Commercial General Liability
               Policy No. 7006K248498
               Effective: 3/1/2019 - 3/1/2020
               Each Occurrence $1,000,000; Damage to Rented
               Premises (Each Occurrence) $100,000; MED EXP (Any
               One Person) $10,000; Personal & Adv Injury $1,000,000;
               General Aggregate $2,000,000; Products - Comp/Op Agg
               $2,000,000

               Automobile Liability
               Policy No. BA6K248498
               Effective: 3/1/2019 - 3/1/2020
               Combined Single Limit (each accident) $1,000,000

               Umbrella Liability
               Each Occurrence: $10,000,000; Aggregate $10,000,000

               Workers Compensation and Employers' Liability
               Policy No. C127477604
               Effective: 10/21/2018 - 10/21/2019
               E.L. Each Accident: $1,000,000; E.L. Disease - Ea
               Employee $1,000,000; E.L. Disease - Policy Limit
               $1,000,000

               Producer: Leap / Carpenter / Kemps Insurance
               Attn: Shawn M. Dwyer, CIC, CRM
               3187 Collins Drive
               Merced, CA 95348

               Insurer A: Travelers P&C Co. of America
               Insurer B: ZNAT Insurance Company
               Insurer C: The Travelers Indem Co. of CT                                                                                 Unknown



     74.       Causes of action against third parties (whether or not a lawsuit
               has been filed)

     75.       Other contingent and unliquidated claims or causes of action of
               every nature, including counterclaims of the debtor and rights to
               set off claims

     76.       Trusts, equitable or future interests in property

     77.       Other property of any kind not already listed Examples: Season tickets,
               country club membership

               Land Improvements                                                                                                     $435,030.52




     78.       Total of Part 11.                                                                                                   $435,030.52
               Add lines 71 through 77. Copy the total to line 90.

     79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
                No
                Yes




    Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 7
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Filed 03/16/20                                                                           Case 20-10800                                                                               Doc 18

     Debtor          4-S Ranch Partners, LLC                                                                             Case number (If known) 20-10800
                     Name



     Part 12:        Summary

    In Part 12 copy all of the totals from the earlier parts of the form
          Type of property                                                                               Current value of                    Current value of real
                                                                                                         personal property                   property

     80. Cash, cash equivalents, and financial assets.
         Copy line 5, Part 1                                                                                                     $0.00

     81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

     82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

     83. Investments. Copy line 17, Part 4.                                                                                      $0.00

     84. Inventory. Copy line 23, Part 5.                                                                       $200,000,000.00

     85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

     86. Office furniture, fixtures, and equipment; and collectibles.
         Copy line 43, Part 7.                                                                                                   $0.00

     87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $2,574,995.27

     88. Real property. Copy line 56, Part 9.........................................................................................>                   $500,000,000.00

     89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

     90. All other assets. Copy line 78, Part 11.                                                    +                $435,030.52

     91. Total. Add lines 80 through 90 for each column                                                     $203,010,025.79              + 91b.         $500,000,000.00


     92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                             $703,010,025.79




    Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                         page 8
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Filed 03/16/20                                                                   Case 20-10800                                                                            Doc 18

     Fill in this information to identify the case:

     Debtor name          4-S Ranch Partners, LLC

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)              20-10800
                                                                                                                                            Check if this is an
                                                                                                                                                 amended filing

    Official Form 206D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
    Be as complete and accurate as possible.
    1. Do any creditors have claims secured by debtor's property?
            No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
            Yes. Fill in all of the information below.
     Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
     2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
     claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
            Sandton Credit Solutions                                                                                                                $500,000,000.0
     2.1                                                                                                                  $57,264,645.50
            Master                                        Describe debtor's property that is subject to a lien                                                   0
            Creditor's Name                               The north and south sides of Green House
                                                          Rd., ±1.5 miles west of Dan McNamara Rd.,
            Fund IV, LP                                   southwest of Atwater, Merced County, CA
            16 W 46th Street, 11th Floor                  (see Schedule A/B for a full list of APNs).
            New York, NY 10036
            Creditor's mailing address                    Describe the lien
                                                          Deed of Trust
                                                          Is the creditor an insider or related party?
                                                           No
            Creditor's email address, if known             Yes
                                                          Is anyone else liable on this claim?
            Date debt was incurred                         No
            8/16/2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
            Last 4 digits of account number

            Do multiple creditors have an                 As of the petition filing date, the claim is:
            interest in the same property?                Check all that apply
             No                                           Contingent
             Yes. Specify each creditor,                  Unliquidated
            including this creditor and its relative
            priority.
                                                           Disputed


                                                                                                                             $57,264,645.
     3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  50

     Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
     List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
     assignees of claims listed above, and attorneys for secured creditors.

     If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
             Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                                  you enter the related creditor?    account number for
                                                                                                                                                     this entity




    Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
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Filed 03/16/20                                                                      Case 20-10800                                                                                         Doc 18

     Fill in this information to identify the case:

     Debtor name         4-S Ranch Partners, LLC

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)          20-10800
                                                                                                                                                              Check if this is an
                                                                                                                                                                 amended filing


    Official Form 206E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                             12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
    Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
    2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

     Part 1:      List All Creditors with PRIORITY Unsecured Claims

           1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

               No. Go to Part 2.
               Yes. Go to line 2.
           2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
              with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                                  Total claim           Priority amount

     2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $367,884.48          $367,884.48
               Merced County Tax Collector                               Check all that apply.
               2222 M Street, 1st Floor                                   Contingent
               Merced, CA 95340                                           Unliquidated
                                                                          Disputed
               Date or dates debt was incurred                           Basis for the claim:
               4/24/2019                                                 Property Taxes
               Last 4 digits of account number                           Is the claim subject to offset?
               Specify Code subsection of PRIORITY                        No
               unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                          Yes


     Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
           3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
              out and attach the Additional Page of Part 2.
                                                                                                                                                          Amount of claim

     3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $31,800.00
               O'Laughlin & Paris LLP                                                   Contingent
               2617 K Street, Suite 100                                                 Unliquidated
               Sacramento, CA 95816                                                     Disputed
               Date(s) debt was incurred 9/17/2019
                                                                                       Basis for the claim:     Environmental Attorneys Services
               Last 4 digits of account
               number 9123;9152;9153;9180;9209                                         Is the claim subject to offset?      No  Yes
     3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $7,229.91
               O. Ray Sheets Accountancy Corporation                                    Contingent
               1120 W I Street, Suite A                                                 Unliquidated
               Los Banos, CA 93635                                                      Disputed
               Date(s) debt was incurred 8/31/2019
                                                                                       Basis for the claim:     Accounting Services
               Last 4 digits of account number 3532
                                                                                       Is the claim subject to offset?      No  Yes




    Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 2
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Filed 03/16/20                                                                 Case 20-10800                                                                                   Doc 18

     Debtor       4-S Ranch Partners, LLC                                                                 Case number (if known)            20-10800
                  Name

     3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $405,186.02
               PG&E                                                               Contingent
               P. O. Box 997300                                                   Unliquidated
               Sacramento, CA 95889-7300                                          Disputed
               Date(s) debt was incurred 9/2019
                                                                                 Basis for the claim: PG&E Line Extension: Well 11, Well 12, Well 13, Well
               Last 4 digits of account number                                   14, Well 15, Well 16, Well 17
                                                                                 Name on Account: Sloan Cattle Company, LLC
                                                                                 Is the claim subject to offset?    No  Yes
     3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $93,440.94
               Rodarakis & Sousa, APC                                             Contingent
               100 Sycamore Avenue, Suite 101                                     Unliquidated
               Modesto, CA 95354                                                  Disputed
               Date(s) debt was incurred 10/12/2019
                                                                                 Basis for the claim:    Legal Services
               Last 4 digits of account number 4249
                                                                                 Is the claim subject to offset?    No  Yes
     3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $11,495.90
               Shannon Pump Co.                                                   Contingent
               275 S. Highway 59                                                  Unliquidated
               Merced, CA 95341                                                   Disputed
               Date(s) debt was incurred     8/2019                              Basis for the claim: Well Service/Repair
               Last 4 digits of account number    0283;0722                      Name on Account: Sloan Cattle Company, LLC
                                                                                 Is the claim subject to offset?    No  Yes
     3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,280.00
               Wendel Rosen LLP                                                   Contingent
               1111 Broadway, 24th Floor                                          Unliquidated
               Oakland, CA 94607                                                  Disputed
               Date(s) debt was incurred 2/29/2020
                                                                                 Basis for the claim:    Legal Services
               Last 4 digits of account number 0191
                                                                                 Is the claim subject to offset?    No  Yes

     Part 3:      List Others to Be Notified About Unsecured Claims

    4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.

       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

               Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                          related creditor (if any) listed?               account number, if
                                                                                                                                                          any

     Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

    5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                            Total of claim amounts
     5a. Total claims from Part 1                                                                            5a.        $                       367,884.48
     5b. Total claims from Part 2                                                                            5b.    +   $                       551,432.77

     5c. Total of Parts 1 and 2
         Lines 5a + 5b = 5c.                                                                                 5c.        $                          919,317.25




    Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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Filed 03/16/20                                                             Case 20-10800                                                                        Doc 18

     Fill in this information to identify the case:

     Debtor name         4-S Ranch Partners, LLC

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)         20-10800
                                                                                                                                    Check if this is an
                                                                                                                                       amended filing


    Official Form 206G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
    Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

    1.      Does the debtor have any executory contracts or unexpired leases?
             No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
           Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
    (Official Form 206A/B).

     2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

     2.1.         State what the contract or                  Lease Agreement by
                  lease is for and the nature of              and between 4-S Ranch
                  the debtor's interest                       Partners, LLC and
                                                              Sloan Cattle Company,
                                                              LLC executed August
                                                              15, 2017 for a ten year
                                                              term to commence
                                                              September 1, 2017 and
                                                              terminate August 31,
                                                              2027 for following
                                                              parcels:
                                                              049-200-005-000;
                                                              049-200-019-000;
                                                              049-200-020-000;
                                                              049-200-021-000;
                                                              049-200-022-000;
                                                              049-200-023-000;
                                                              049-200-024-000;
                                                              049-200-025-000;
                                                              049-220-015-000;
                                                              049-220-016-000;
                                                              049-220-017-000;
                                                              049-220-018-000;049-22
                                                              0-019-000;
                                                              049-220-020-000;
                                                              049-240-017-000;
                                                              065-030-004-000. Rent:
                                                              $53,000.00 ($10.00 per
                                                              acre).
                      State the term remaining                7 Years, 5 Months
                                                                                         Sloan Cattle Company, LLC
                  List the contract number of any                                        264 I Street
                        government contract                                              Los Banos, CA 93635-9363




    Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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     Fill in this information to identify the case:

     Debtor name         4-S Ranch Partners, LLC

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)         20-10800
                                                                                                                               Check if this is an
                                                                                                                                   amended filing


    Official Form 206H
    Schedule H: Your Codebtors                                                                                                                      12/15

    Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
    Additional Page to this page.

          1. Do you have any codebtors?

      No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
      Yes
       2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
          creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
          on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
                Column 1: Codebtor                                                                        Column 2: Creditor



                 Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                    that apply:

        2.1      Stephen W.                        264 I Street                                     Sandton Credit                  D       2.1
                 Sloan & Patti                     Los Banos, CA 93635-9363                         Solutions Master                 E/F
                 Harrill-Sloan
                                                                                                                                    G




    Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 1
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     Fill in this information to identify the case:

     Debtor name         4-S Ranch Partners, LLC

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)         20-10800
                                                                                                                                     Check if this is an
                                                                                                                                        amended filing



    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
    form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
    amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
    and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
    1519, and 3571.



                    Declaration and signature


           I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
           individual serving as a representative of the debtor in this case.

           I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                     Schedule H: Codebtors (Official Form 206H)

                     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                     Amended Schedule
                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                     Other document that requires a declaration

           I declare under penalty of perjury that the foregoing is true and correct.

            Executed on          March 16, 2020                          X /s/ Stephen W. Sloan
                                                                           Signature of individual signing on behalf of debtor

                                                                           Stephen W. Sloan
                                                                           Printed name

                                                                           Managing Member
                                                                           Position or relationship to debtor




    Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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Filed 03/16/20                                                                 Case 20-10800                                                                            Doc 18




     Fill in this information to identify the case:

     Debtor name         4-S Ranch Partners, LLC

     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)         20-10800
                                                                                                                                              Check if this is an
                                                                                                                                                 amended filing



    Official Form 207
    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
    The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
    write the debtor’s name and case number (if known).

     Part 1:      Income

    1. Gross revenue from business

           None.
           Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                            Gross revenue
           which may be a calendar year                                                            Check all that apply                          (before deductions and
                                                                                                                                                 exclusions)
    2. Non-business revenue
       Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
       and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.
                                                                                                   Description of sources of revenue             Gross revenue from
                                                                                                                                                 each source
                                                                                                                                                 (before deductions and
                                                                                                                                                 exclusions)

     Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

    3. Certain payments or transfers to creditors within 90 days before filing this case
       List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
       filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
       and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.
           Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                                   Check all that apply
           3.1.
                   Wendel Rosen LLP                                            1/28/2020                          $7,504.19         Secured debt
                   1111 Broadway, 24th Floor                                                                                        Unsecured loan repayments
                   Oakland, CA 94607                                                                                                Suppliers or vendors
                                                                                                                                    Services
                                                                                                                                    Other




    Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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     Debtor      4-S Ranch Partners, LLC                                                                    Case number (if known) 20-10800



    4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
       List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
       or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
       may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
       listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
       debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.
           Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
           Relationship to debtor

    5. Repossessions, foreclosures, and returns
       List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
       a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None
           Creditor's name and address                              Describe of the Property                                       Date                Value of property


    6. Setoffs
       List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
       of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
       debt.

           None
           Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                                   taken

     Part 3:      Legal Actions or Assignments

    7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
       in any capacity—within 1 year before filing this case.

           None.
                   Case title                                       Nature of case             Court or agency's name and                 Status of case
                   Case number                                                                 address

    8. Assignments and receivership
       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
       receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None

     Part 4:      Certain Gifts and Charitable Contributions

    9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
       the gifts to that recipient is less than $1,000

           None
                   Recipient's name and address                     Description of the gifts or contributions                Dates given                              Value


     Part 5:      Certain Losses

    10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None



    Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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     Debtor        4-S Ranch Partners, LLC                                                                     Case number (if known) 20-10800



           Description of the property lost and                     Amount of payments received for the loss                 Dates of loss          Value of property
           how the loss occurred                                                                                                                                 lost
                                                                    If you have received payments to cover the loss, for
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.

                                                                    List unpaid claims on Official Form 106A/B (Schedule
                                                                    A/B: Assets – Real and Personal Property).

     Part 6:       Certain Payments or Transfers

    11. Payments related to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
        of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
        relief, or filing a bankruptcy case.

           None.
                    Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                    the transfer?                                                                                                                             value
                    Address
           11.1.    Macdonald Fernandez LLP
                    221 Sansome Street, Third                                                                                      $50,000
                    Floor                                                                                                          (9/26/2019);
                    San Francisco, CA                                                                                              $25,000
                    94104-2323                                                                                                     (10/7/2019)           $75,000.00

                    Email or website address
                    www.macfern.com

                    Who made the payment, if not debtor?
                    Sloan Enterprises; The Steve Sloan
                    2012 Trust



    12. Self-settled trusts of which the debtor is a beneficiary
        List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
        to a self-settled trust or similar device.
        Do not include transfers already listed on this statement.

           None.
           Name of trust or device                                       Describe any property transferred                 Dates transfers           Total amount or
                                                                                                                           were made                          value

    13. Transfers not already listed on this statement
        List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
        2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
        both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.
                   Who received transfer?                           Description of property transferred or                   Date transfer           Total amount or
                   Address                                          payments received or debts paid in exchange              was made                         value

     Part 7:       Previous Locations

    14. Previous addresses
        List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply
                    Address                                                                                                    Dates of occupancy
                                                                                                                               From-To

     Part 8:       Health Care Bankruptcies

    Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3
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     Debtor      4-S Ranch Partners, LLC                                                                    Case number (if known) 20-10800



    15. Health Care bankruptcies
        Is the debtor primarily engaged in offering services and facilities for:
        - diagnosing or treating injury, deformity, or disease, or
        - providing any surgical, psychiatric, drug treatment, or obstetric care?

               No. Go to Part 9.
           Yes. Fill in the information below.

                    Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                    the debtor provides                                                     and housing, number of
                                                                                                                                            patients in debtor’s care

     Part 9:      Personally Identifiable Information

    16. Does the debtor collect and retain personally identifiable information of customers?

               No.
           Yes. State the nature of the information collected and retained.
    17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
        profit-sharing plan made available by the debtor as an employee benefit?

               No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

     Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

    18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
        moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.

           None
                    Financial Institution name and                  Last 4 digits of          Type of account or          Date account was              Last balance
                    Address                                         account number            instrument                  closed, sold,             before closing or
                                                                                                                          moved, or                          transfer
                                                                                                                          transferred

    19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
        case.


           None
           Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                         access to it                                                                have it?
                                                                         Address

    20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
        which the debtor does business.


           None
           Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                         access to it                                                                have it?


     Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




    Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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     Debtor      4-S Ranch Partners, LLC                                                                    Case number (if known) 20-10800




    21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
        not list leased or rented property.

         None

     Part 12:     Details About Environment Information

    For the purpose of Part 12, the following definitions apply:
         Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
         medium affected (air, land, water, or any other medium).

          Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
          owned, operated, or utilized.

          Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
          similarly harmful substance.

    Report all notices, releases, and proceedings known, regardless of when they occurred.

    22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

               No.
           Yes. Provide details below.
           Case title                                                    Court or agency name and             Nature of the case                            Status of case
           Case number                                                   address

    23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
        environmental law?

               No.
           Yes. Provide details below.
           Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                         address

    24. Has the debtor notified any governmental unit of any release of hazardous material?

               No.
           Yes. Provide details below.
           Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                         address

     Part 13:     Details About the Debtor's Business or Connections to Any Business

    25. Other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
        Include this information even if already listed in the Schedules.

           None
        Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.

                                                                                                                   Dates business existed
        25.1.                                                     Water Sales and Storage                          EIN:
                 4-S Ranch Partners, LLC                                                                                        XX-XXXXXXX
                 264 I Street
                 Los Banos, CA 93635-9363                                                                          From-To      7/18/2013 - Current


    26. Books, records, and financial statements
        26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.


    Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
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               None
           Name and address                                                                                                                   Date of service
                                                                                                                                              From-To
           26a.1.       O. Ray Sheets Accountancy Corporation                                                                                 2015 - Present
                        Attn: John E. Henry                                                                                                   Preparation of Tax
                        1120 W I Street, Suite A                                                                                              Returns
                        Los Banos, CA 93635
           26a.2.       Diana Raineri                                                                                                         2012 - Present
                        264 I Street                                                                                                          Bookkeeper
                        Los Banos, CA 93635-9363

        26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
             within 2 years before filing this case.

               None
           Name and address                                                                                                                   Date of service
                                                                                                                                              From-To
           26b.1.       Diana Raineri                                                                                                         2012 - Present
                        264 I Street
                        Los Banos, CA 93635-9363
           Name and address                                                                                                                   Date of service
                                                                                                                                              From-To
           26b.2.       O. Ray Sheets Accountancy Corporation                                                                                 2015 - Present
                        Attn: John E. Henry
                        1120 W I Street, Suite A
                        Los Banos, CA 93635

        26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

               None
           Name and address                                                                                      If any books of account and records are
                                                                                                                 unavailable, explain why
           26c.1.       Diana Raineri
                        264 I Street
                        Los Banos, CA 93635-9363
           26c.2.       O. Ray Sheets Accountancy Corporation
                        Attn: John E. Henry
                        1120 W I Street, Suite A
                        Los Banos, CA 93635

        26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
             statement within 2 years before filing this case.

               None
           Name and address

    27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?

               No
           Yes. Give the details about the two most recent inventories.
                    Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                    inventory                                                                                            or other basis) of each inventory

    28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
        in control of the debtor at the time of the filing of this case.

    Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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     Debtor      4-S Ranch Partners, LLC                                                                    Case number (if known) 20-10800




           Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                              interest                              any
           Stephen W. Sloan                               264 I Street                                        Managing Member                       100%
                                                          Los Banos, CA 93635-9363



    29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
        control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


               No
           Yes. Identify below.

    30. Payments, distributions, or withdrawals credited or given to insiders
        Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
        loans, credits on loans, stock redemptions, and options exercised?

               No
           Yes. Identify below.
                   Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                    property                                                                   providing the value

    31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

               No
           Yes. Identify below.
        Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                                   corporation

    32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

               No
           Yes. Identify below.
        Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                                   corporation

     Part 14:     Signature and Declaration

          WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
          connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
          18 U.S.C. §§ 152, 1341, 1519, and 3571.

          I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
          and correct.

          I declare under penalty of perjury that the foregoing is true and correct.

     Executed on         March 16, 2020

     /s/ Stephen W. Sloan                                                   Stephen W. Sloan
     Signature of individual signing on behalf of the debtor                Printed name

     Position or relationship to debtor         Managing Member

    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
     No
     Yes



    Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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